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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION



CHAD MICHAEL RAGER,
      Petitioner,

v.                                                 Case No. 3:19cv740-LC-HTC

MARK S. INCH, SECRETARY,
 DEPARTMENT OF CORRECTIONS,
      Respondent.

______________________/

                                    ORDER

      The magistrate judge issued a Report and Recommendation on January 25,

2021 (ECF No. 27).       The parties were furnished a copy of the Report and

Recommendation and afforded an opportunity to file objections pursuant to Title

28, United States Code, Section 636(b)(1). I have made a de novo determination of

the timely filed objections.

      Having considered the Report and Recommendation, and the objections

thereto, I have determined the Report and Recommendation should be adopted.




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       Accordingly, it is ORDERED:

       1.    The magistrate judge’s Report and Recommendation (ECF No. 27) is

adopted and incorporated by reference in this order.

       2.    The amended petition under 28 U.S.C. § 2254, challenging the

conviction in State v. Rager, 2010-CF-4281, in the First Judicial Circuit, in and for

Escambia County, Florida, ECF Doc. 12, is DENIED without an evidentiary

hearing.

       3.    A certificate of appealability is DENIED.

       4.    The clerk of court is directed to enter judgment accordingly and close

this case.

       DONE AND ORDERED this 15th day of March, 2021.



                                s/L.A. Collier
                                LACEY A. COLLIER
                                SENIOR UNITED STATES DISTRICT JUDGE




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